    Case 1:17-cv-01323-SB Document 318 Filed 07/31/20 Page 1 of 1 PageID #: 9541




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


CONSUMER FINANCIAL PROTECTION                     :
BUREAU,                                           :           C.A. No. 17-1323 (MN)
                                                  :
                          Plaintiff,              :
                                                  :
v.                                                :
                                                  :
THE NATIONAL COLLEGIATE MASTER                    :
STUDENT LOAN TRUST et al.,                        :
                                                  :
                          Defendants.             :


                                             ORDER

                   Upon application of Intervenors1 and for good cause shown,

                                    VW day
         IT IS HEREBY ORDERED this ______  of ___________,
                                                -XO\      2020, that Exhibits 2–5 to

the July 10, 2020 Haas Declaration (D.I. 335, 336, 337, 338), and the redacted portions of

the Intervenors’ Opening Brief in Support of Their Motion to Dismiss Under Fed. R. Civ. P.

12(b)(6) and 12(b)(1) (D.I. 334), filed in the above-captioned matter shall remain under seal.




                                                      _________________________________
                                                      ____
                                                        _ ______________________________
                                                      The
                                                       he Honorable
                                                      Th      o able Maryellen Noreika
                                                          Honor
                                                           d States
                                                      United States District Judge




1
 “Intervenors” refers to Ambac Assurance Corporation; Pennsylvania Higher Education Assistance
Agency d/b/a American Education Services; and Wilmington Trust Company.
